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                     1   Michael Cryan (SBN 249507)
                         Franjo M. Dolenac (SBN 259036)
                     2   ARENT FOX LLP
                         555 West Fifth Street, 48th Floor
                     3   Los Angeles, CA 90013
                         Telephone: 213.629.7400
                     4   Facsimile: 213.629.7401
                         cryan.michael@arentfox.com
                     5   franjo.dolenac@arentfox.com
                     6   Attorneys for Plaintiffs
                         THE DUFFY 2004 LLC
                     7   and THE TULL 2006 LLC
                     8
                                                UNITED STATES DISTRICT COURT
                     9
                                               CENTRAL DISTRICT OF CALIFORNIA
                   10
                   11
                         THE DUFFY 2004 LLC and THE               Case No.
                   12    TULL 2006 LLC,
                                                                  COMPLAINT
                   13                     Plaintiffs,
                   14    v.
                                                                  JURY TRIAL DEMANDED
                   15    AXA EQUITABLE LIFE
                         INSURANCE COMPANY,
                   16
                                          Defendant.
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                     1         Plaintiffs, the Duffy 2005 LLC and the Tull 2006 LLC, (collectively,
                     2   “Plaintiffs”), by and through their attorneys, file this complaint against Defendant
                     3   AXA Equitable Life Insurance Company (“AXA” or “Defendant”), and alleges as
                     4   follows:
                     5                              NATURE OF THE ACTION
                     6         1.     Plaintiffs bring this action seeking compensatory and punitive
                     7   damages, equitable relief, and attorneys’ fees based on AXA’s unlawful increasing
                     8   of the cost of insurance (sometimes referred to herein as “COI”) rates on a targeted
                     9   group of its in-force Athena Universal Life II (“AUL II”) insurance policies (the
                   10    “Policies”). This targeted group (the “Discriminated Group”), which includes
                   11    Plaintiffs, consists of policyholders who own AUL II policies that (a) were issued
                   12    on insureds who were 70 years old or older (issue age); and (b) have a face amount
                   13    of $1,000,000 or more. By raising cost of insurance rates without a proper basis and
                   14    only on the Discriminated Group, AXA has breached the express and implied terms
                   15    of the Policies, not to mention violated laws prohibiting unlawful rate
                   16    discrimination and unlawful, misleading, and unfair practices in connection with
                   17    the marketing, selling, and administering of life insurance.
                   18          2.     The claims made by Plaintiffs here are virtually identical to the claim
                   19    made by another plaintiff before this court and the action, EFG Bank AG v. AXA
                   20    Equitable Life Insurance Company, 2:16-CV-08103 (DSF). The claims by
                   21    Plaintiffs herein, as well as EFG Bank there, are based on the same COI increase
                   22    and premised on the same breach of contract and violation of law.
                   23          3.     Where applicable, we have asserted the same allegations in this
                   24    complaint as made by EFG for ease of reference and for issues of proof hereafter.
                   25    We have not included all of the preliminary, factual pleadings that are set forth in
                   26    great detail in the EFG complaint as those are not necessary to state the causes of
                   27    action here, but we refer to that complaint for factual reference.
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                     1         4.     Although universal life insurance permits an insurer to adjust the cost
                     2   of insurance rates (by increasing or decreasing the cost of insurance rates), the AUL
                     3   II Policies restrict AXA’s ability to change cost of insurance rates in two important
                     4   ways. First, AXA may only change cost of insurance rates based on “reasonable
                     5   assumptions as to expenses, mortality, policy and contract claims, taxes, investment
                     6   income, and lapses.” Second, any change in cost of insurance rates must “be on a
                     7   basis that is equitable to all policyholders of a given class.”
                     8         5.     The most important assumption in life insurance is mortality. Yet it is
                     9   well-known in the life insurance industry that since AXA began issuing the Policies
                   10    several years ago, in 2004, mortality has improved, not worsened. This
                   11    improvement in mortality has resulted in new life insurance mortality tables that
                   12    would, if anything, support a decrease, not increase, in cost of insurance rates.
                   13    Despite this, AXA has increased cost of insurance rates, and it has done so by
                   14    substantial amounts, in blatant breach of the Policies’ express and implied terms
                   15    and conditions.
                   16          6.     Furthermore, the Policies state that any change in cost of insurance
                   17    rates “will be on a basis that is equitable to all policyholders of a given class.” But
                   18    instead of implementing a rate increase that is equitable to policyholders in each
                   19    class, AXA identified a new group of policyholders to be the target of its rate
                   20    increase. That group is the Discriminated Group and consists solely of
                   21    policyholders who own policies with issue ages of 70 and above and face amounts
                   22    of $1,000,000 and above. Although AXA now refers to this group as a “class,”
                   23    upon information and belief, this so-called “class” did not exist at the time AXA
                   24    designed the Policies and AXA only created it in a brazen attempt to circumvent the
                   25    Policies’ requirement that any rate increase be on a basis that is equitable to all
                   26    policyholders of a given glass. In other words, knowing it could not treat
                   27    policyholders within a class differently, AXA attempted to accomplish this result
                   28    by simply redefining the classes themselves.
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                     1         7.     AXA also has attempted to justify its rate increase by claiming that
                     2   low interest rates have resulted in lower than expected investment income for AXA.
                     3   But even if this were true, low interest rates would impact all AUL II Policies, not
                     4   just those with issue ages of 70 and above and face amounts of $1,000,000 and
                     5   above, and there is no logical or actuarially-based reason for singling out these
                     6   policyholders for a rate increase. Thus, it is apparent that AXA has targeted the
                     7   Discriminated Group for reasons other than mere changes to its expectations of
                     8   investment income.
                     9         8.     Moreover, by drastically raising cost of insurance rates, it is apparent
                   10    that AXA seeks to force Plaintiffs and other members of the Discriminated Group
                   11    either to (a) pay exorbitant premiums that AXA knows would no longer justify the
                   12    ultimate death benefits, or (b) lapse or surrender their policies and forfeit the
                   13    premiums they have paid to date, thereby depriving policyholders of the benefits of
                   14    their policies. AXA, in turn, will make a huge profit – either through higher
                   15    premium payments or by eliminating a large group of policies (through lapses or
                   16    surrenders) and keeping the vast majority of the premiums that have been paid to
                   17    date on them. Indeed, AXA stated in SEC filings from 2015 that it expected the
                   18    cost of insurance rate increases on this subgroup of AUL II policyholders to result
                   19    in a $46 million increase to net earnings in 2015 alone.
                   20          9.     AXA’s misconduct, as described more fully herein, constitutes not
                   21    only express breaches of Plaintiff’s policies, but also breaches of the implied and
                   22    fair dealing and unlawful, unfair, and deceptive business practices. Plaintiff
                   23    therefore seeks compensatory and punitive damages, as well as equitable relief and
                   24    attorneys’ fees.
                   25                                       THE PARTIES
                   26          10.    Each plaintiff is a limited liability corporation organized under the
                   27    laws of the State of Washington and the managing member of each is the same
                   28    entity, a separate Washington LLC with its principal place of business in California.
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                     1   The policies currently owned by Plaintiffs were issued in the state of California to
                     2   policy owners who resided in California at the time of issue. All of the individual
                     3   members of both Plaintiffs, and of the LLC members, are residents of California or
                     4   Colorado.
                     5          11.    Upon information and belief, Defendant AXA Equitable Life
                     6   Insurance Company is a New York corporation with its principal place of business
                     7   in New York, New York, and AXA is authorized to do business in the State of
                     8   California and regularly conducts its business in the State of California, including
                     9   within this judicial district.
                   10                                JURISDICTION AND VENUE
                   11           12.    This Court has subject matter jurisdiction under 28 U.S.C.
                   12    § 1332(a)(2) because the action involves parties of diverse citizenship, and because
                   13    the amount in controversy exceeds $75,000, exclusive of interest and costs.
                   14           13.    This Court has personal jurisdiction over AXA because AXA regularly
                   15    conducts and transacts business in this state, including having issued the life
                   16    insurance policies at issue in this state.
                   17           14.    Venue is proper pursuant to 28 U.S.C. §§ 1391(a)(1), (a)(2), and
                   18    1391(b) because AXA resides in this judicial district, and a substantial part of the
                   19    events giving rise to the claims occurred in this judicial district, including AXA’s
                   20    issuance of the policies that are the subject of this complaint.
                   21                                 FACTUAL BACKGROUND
                   22           A.     Plaintiffs Are the Owners of AUL II Policies
                   23           15.    Each plaintiff is the owner and beneficiary of a policy that AXA issued
                   24    in the State of California between 2004 and 2006. The Duffy policy is a $3 million
                   25    policy issued on February 4, 2005. The Toll policy is a $5 million policy issued on
                   26    February 18, 2006. The relevant terms and conditions of each policy are identical
                   27    to those set forth in the Doe policy attached to the EFG complaint.
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                     1         16.    As is typical of universal life insurance policies, the AUL II Policies
                     2   provide that they will remain in force as long as there are sufficient funds in the
                     3   policy account each month to cover the monthly deductions described in the
                     4   Policies. The monthly deductions consist of a premium charge, an administrative
                     5   charge, and a cost of insurance charge, plus charges for any policy riders. Any
                     6   balance in the policy account that is left after the deductions are taken reflects the
                     7   “Policy Account Value,” which accrues interest as provided for under the Policies.
                     8   If in any month there are insufficient funds in the account to cover the deductions,
                     9   the policy will enter a 30-day grace period. If additional premiums are not paid
                   10    within the grace period, AXA will terminate, or lapse, the policy.
                   11          17.    The largest and most significant charge under the Policies is the cost of
                   12    insurance charge. This charge, also known as the mortality charge, reflects the price
                   13    that AXA charges to cover the risk of death. The cost of insurance charge is
                   14    determined by multiplying the cost of insurance rate times the net amount at risk.
                   15    The net amount at risk is the death benefit minus the Policy Account Value. (The
                   16    Policy Account Value is the savings component of a universal life insurance policy.
                   17    It is deducted from the death benefit because the policyholder does not pay cost of
                   18    insurance on this amount.)
                   19          18.    The cost of insurance rates under a policy are based initially on certain
                   20    characteristics of the insured, including her or his gender, age, and underwriting
                   21    class (i.e., preferred plus, preferred, standard, and substandard classes). The cost of
                   22    insurance rate increases every year as the insured ages.
                   23          19.    The Policies state that AXA “will determine cost of insurance rates
                   24    from time to time” and that any change in the cost of insurance rates will be as
                   25    described in the “Changes in Policy Cost Factors” provision. The “Changes in
                   26    Policy Cost Factors” provision provides:
                   27                 Changes in policy cost factors (interest rates we credit,
                                      cost of insurance deductions and expense charges) will be
                   28                 on a basis that is equitable to all policyholders of a given
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                     1                class, and will be determined based on reasonable
                                      assumptions as to expenses, mortality, policy and contract
                     2                claims, taxes, investment income, and lapses.
                     3
                     4         20.    Accordingly, under the plain terms of the Policies, any change in the
                     5   cost of insurance rates (a) can only be based on AXA’s reasonable assumptions as
                     6   to expenses, mortality, policy and contract claims, taxes, investment income, and
                     7   lapses; and (b) must be “equitable to all policyholders of a given class.”
                     8         B.     AXA Raises Cost of Insurance Rates Solely on the Discriminated
                     9                Group’s Policies
                   10          21.    In October 2015, AXA began notifying the Discriminated Group that it
                   11    was raising the cost of insurance rates on their AUL II Policies, including all of the
                   12    Plaintiff’s Policies. These letters stated that AXA was “adjusting your universal
                   13    life insurance policy in a way that will increase the monthly cost-of-insurance
                   14    (COI) deductions from your policy and which is likely to require payment of
                   15    additional premium to help ensure that your policy will perform as previously
                   16    illustrated.” The letters further stated that AXA has “reviewed our mortality and
                   17    investment income expectations for Athena Universal Life II policies and [has]
                   18    determined that they are less favorable than was anticipated when the current
                   19    schedule of COI rates was established.”
                   20          22.    AXA’s letters did not tell Plaintiffs how much the rate increase would
                   21    be or explain how its mortality and investment income assumptions had changed.
                   22    Nor did it say what policies or policyholders were subject to a rate increase.
                   23          23.    Plaintiffs later calculated that the cost of insurance rate increase was
                   24    between 35-65%. In addition, a FAQ that AXA released disclosed that the rate
                   25    increase was targeted solely at the Discriminated Group, although it did not explain
                   26    why AXA targeted this group exclusively.
                   27          24.    AXA’s rate increase breaches the terms of the Policies in at least four
                   28    ways. First, the rate increase is not “equitable to all policyholders of a given class.”
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                     1   Second, the rate increase is not “based on reasonable assumptions as to expenses,
                     2   mortality, policy and contract claims, taxes, investment income, and lapses.” Third,
                     3   the rate increase is excessive. Fourth, the rate increase breaches the implied
                     4   covenant of good faith and fair dealing that exists in every insurance contract.
                     5         C.     The Rate Increase Is Not Equitable to All Policyholders in a Class
                     6         25.    The only “class” referred to in the Policies is the “Rating Class.” In
                     7   the AUL II Product Guide that was attached as Exhibit 4 to the EFG complaint,
                     8   which AXA distributed to its sales force, AXA refers to Rating Classes as
                     9   “Underwriting Classes,” but they appear to refer to the same grouping of policies.
                   10          26.    The Underwriting Classes are (i) Preferred Plus Non-Tobacco User;
                   11    (ii) Preferred Non-Tobacco User; (iii) Preferred Tobacco User; (iv) Standard Non-
                   12    Tobacco User; (v) Standard Tobacco User; and (vi) Substandard letter rating classes
                   13    C, D, E, and F, Non-Tobacco and Tobacco User. AUL II Product Guide, Exh. 4,
                   14    p. 15. These classes represent a range of mortality risks, with Preferred Plus
                   15    representing the lowest mortality risk to AXA.
                   16          27.    Issue age and face amount are not characteristics of the Rating or
                   17    Underwriting Class, although only certain issue ages qualify for a particular
                   18    Underwriting Class. For example, Preferred Plus is limited only to issue ages of 18
                   19    to 80, while Preferred is available to anyone from age 0 to 85. Thus, the Preferred
                   20    and Preferred Plus Underwriting Classes consist of policies with issue ages 70 and
                   21    above as well as policies with issue ages 69 and below. These Underwriting Classes
                   22    also consist of policies with face amounts of $1 million and above as well as
                   23    policies with face amounts of $999,999 and below.
                   24          28.    AXA’s rate increase violates the provision that any change in cost of
                   25    insurance rates be equitable to all policyholders within a class because the rate
                   26    increase applies only to some members of an Underwriting Class (those with issue
                   27    ages of 70 and above and face amounts of $1 million and above) and not to others.
                   28    For example, some members of the Preferred and Preferred Plus rating classes
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                     1   received a cost of insurance rate increase while others did not. The same holds true
                     2   for every other Rating or Underwriting Class.
                     3         29.    There also is no equitable or actuarial basis for singling out policies
                     4   with issue ages of 70 and above and face amounts of $1 million and above. This is
                     5   particularly true with respect to the alleged adverse changes in AXA’s investment
                     6   income expectations. If, as AXA contends, it expects to receive less investment
                     7   income due to lower interest rates, it would expect to receive less investment
                     8   income for all policies regardless of their issue ages or face amounts. Indeed,
                     9   interest rates would have a greater impact on policies with lower issue ages, not
                   10    higher issue ages, because AXA would expect to realize the shortfall in expected
                   11    investment income over the course of many more years for policies with lower
                   12    issue ages. Thus, not surprisingly, the AUL II Product Guide expressly
                   13    acknowledges that interest rate assumptions have a greater impact on policies
                   14    issued to younger insureds. It states:
                   15                 Note that interest rates credited on a UL policy are less
                                      important in the sales illustration on a 75-year-old than
                   16                 they are on a 35-year-old since the illustration generally
                                      shows payments and policy values to age 120, (although
                   17                 the focus is often on age 100) and compounding over 85
                                      years makes much more of a difference than over 45
                   18                 years. Thus, there is relatively less interest rate risk on
                                      Athena II at older ages than at younger ages.
                   19
                   20    AUL II Product Guide, Exh. 4, p. 1 (emphasis added).
                   21          30.    Nor does it appear based on A/E ratios that the AUL II Policies have
                   22    experienced worse mortality for policies with issue ages of 70 and above and face
                   23    amounts of $1 million and above. The A/E ratio is the actual to expected ratio, and
                   24    reflects an insurance company’s actual experience compared to its expected
                   25    experience. Upon information and belief, AXA’s A/E mortality ratios for policies
                   26    with issue ages of 70 and above and face amounts of $1 million and above is lower
                   27    than the A/E mortality ratios for policies with issue ages of 69 and below and face
                   28    amounts of $999,999 and less. In other words, upon information and belief, AXA’s
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                     1   mortality experience for the Discriminated Group has been more favorable than it
                     2   has been for AXA’s other AUL II Policies, which were not subject to the cost of
                     3   insurance rate increase.
                     4         31.    Thus, not only is AXA’s rate increase not equitable to all
                     5   policyholders within a given class, the rate increase appears to target a group of
                     6   policies that have been more favorable to AXA than those that did not receive a rate
                     7   increase. For this and other reasons, Plaintiffs believe that AXA had other
                     8   undisclosed and improper motives for targeting the Discriminated Group for the
                     9   rate increase.
                   10          32.    Specifically, Plaintiffs are informed and believe, and on that basis
                   11    allege, that AXA identified the Discriminated Group as consisting largely of
                   12    investor policyholders that acquired their AUL II Policies in or through the
                   13    secondary market for life insurance. Such policyholders, like Plaintiffs, have
                   14    generally paid only enough premiums to cover their monthly policy charges and
                   15    chosen not to invest in the AUL II policy account, which has resulted in less
                   16    premium revenue for AXA and lower Policy Account Values. The Policies,
                   17    however, do not permit AXA to raise cost of insurance rates based on Policy
                   18    Account Values or how much policyholders choose to fund their policies. Indeed,
                   19    by penalizing policyholders for exercising their contractual right to fund their
                   20    policies as they choose, AXA has also breached the implied covenant of good faith
                   21    and fair dealing.
                   22          D.     The Rate Increase Is Not Justified by Changes in Reasonable
                   23                 Assumptions as to Mortality and Investment Income
                   24          33.    The Policies state that AXA may base a change in cost of insurance
                   25    rates only on reasonable assumptions as to expenses, mortality, policy and contract
                   26    claims, taxes, investment income, and lapses. These are the only six assumptions
                   27    that AXA may consider, and its assumptions must be reasonable. Furthermore, to
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                     1   be based on AXA’s reasonable assumptions, the changes in cost of insurance rates
                     2   must correspond with the magnitude of the changes in AXA’s assumptions.
                     3         34.    Here, AXA has cited only two assumptions in support of the rate
                     4   increase—mortality and investment income. Neither of these assumptions,
                     5   however, supports AXA’s rate increase.
                     6         Mortality
                     7         35.    First, as to mortality, it is well known in the life insurance industry
                     8   that over the past decade, mortality has improved, not worsened, and people are
                     9   living much longer than anticipated several years ago when AXA priced the AUL II
                   10    Policies. This is evidenced by the release of several new mortality tables over the
                   11    past two decades reflecting improved mortality that would, if anything, support a
                   12    decrease in cost of insurance rates.
                   13          36.    Specifically, in 2001, the Society of Actuaries’ (“SOA”) and the
                   14    American Academy of Actuaries (“AAA”) produced the 2001 Commissioner’s
                   15    Standard Ordinary (“CSO”) Table, which revised the previous 1980 CSO Table to
                   16    reflect significant improving mortality, especially at older ages. The maximum cost
                   17    of insurance rates allowed under the AUL II Policies, however, are based on the
                   18    older 1980 CSO Table, not the newer 2001 CSO Table. The SOA also is currently
                   19    investigating an update of the 2001 CSO Table, and a 2015 investigative report by
                   20    the SOA showed significant reductions in insurance company reserves compared to
                   21    the 2001 CSO Table due to mortality improvements since 2001. In addition, in
                   22    2008, just four years after AXA priced the AUL II Policies, the SOA released a
                   23    2008 Valuation Basic Table that reflected significant mortality improvements
                   24    compared to prior tables, especially at older ages. These new mortality tables
                   25    demonstrate that since 2004 when the AUL II Policies were originally priced,
                   26    mortality has improved, not worsened, and this change in mortality would support a
                   27    decrease, not increase, in cost of insurance rates.
                   28
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                     1         37.    Plaintiffs also are informed and believe, and on that basis allege, that
                     2   AXA adjusted the cost of insurance rates for universal life insurance at least five
                     3   times between 2004 and 2013, updating its mortality assumptions as needed, and
                     4   AXA never disclosed during this time that it had suffered adverse mortality,
                     5   justifying a change in cost of insurance rates on its in-force AUL II Policies.
                     6   Indeed, upon information and belief, as late as February 25, 2015, AXA represented
                     7   to NYDFS that its current experience for factors underlying any nonguaranteed
                     8   elements, including mortality, was not different from its anticipated experience. Yet
                     9   just seven months later, AXA purported to have discovered adverse mortality
                   10    experience justifying a cost of insurance rate increase of as much as 65%. This is
                   11    simply implausible.
                   12          Investment Income
                   13          38.    Second, as to investment income, AXA likewise represented to
                   14    NYDFS as late as February 25, 2015 that its current experience for factors
                   15    underlying any nonguaranteed elements, including investment income, was not
                   16    different from its anticipated experience, and it is highly implausible that AXA only
                   17    discovered an adverse change in investment income just seven months later when it
                   18    notified the Discriminated Group it was raising their cost of insurance rates.
                   19          39.    In any event, even if lower interest rates have resulted in lower yields
                   20    on AXA’s investments, this would not justify a cost of insurance rate increase in
                   21    the range of 35% to 65%, which is the range of the increases that Plaintiffs have
                   22    calculated on the Plaintiff Policies. Interest rates should be a relatively minor factor
                   23    in determining cost of insurance rates, particularly because any shortfall resulting
                   24    from changes in interest rates (a) can be offset by lowering the credited rate on the
                   25    Policies, which is the interest rate that AXA pays on Policy Account Values; and
                   26    (b) can and must be distributed equitably among all policyholders, as discussed
                   27    above.
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                     1          40.    Moreover, to the extent AXA experienced favorable mortality, the
                     2   impact of such favorable mortality experience should offset any costs associated
                     3   with lower than expected interest rates.
                     4          41.    In sum, by drastically raising cost of insurance rates only on the
                     5   Discriminated Group, AXA seeks to force Plaintiffs and other members of the
                     6   Discriminated Group either to (a) pay exorbitant premiums that AXA knows
                     7   would no longer justify the ultimate death benefits or (b) lapse or surrender their
                     8   policies, thereby forfeiting the premiums they have paid over the last decade plus.
                     9   AXA, in turn, will make a huge profit – either through higher premium payments
                   10    or by eliminating a large group of policies (through lapses or surrenders) and
                   11    keeping the premiums that have been paid to date. Indeed, AXA stated in SEC
                   12    filings from 2015 that it expected the cost of insurance rate increases on this
                   13    subgroup of AUL II policyholders to result in a $46 million increase to net
                   14    earnings in 2015 alone.
                   15                                            COUNT I
                   16                                (Breach of Contract – Express)
                   17           42.    Plaintiffs reallege the allegations contained in paragraphs 1 through
                   18    41, inclusive, as if set forth fully herein.
                   19           43.    Plaintiffs’ Policies are binding and enforceable contracts.
                   20           44.    Defendant materially breached Plaintiffs’ policies in several respects,
                   21    including but not limited to the following:
                   22           a.     By increasing the cost of insurance rates on a basis that is not equitable
                   23                  to all policyholders in a given class and instead specifically targeting
                   24                  the Discriminatory Group;
                   25           b.     By increasing the cost of insurance rates on a basis other than
                   26                  “reasonable assumptions as to expenses, mortality, policy and contract
                   27                  claims, taxes, investment income, and lapses”; and
                   28           c.     By imposing excessive cost of insurance rates.
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                     1          45.    Plaintiffs have performed all of their obligations under the policies,
                     2   except to the extent that their obligations have been excused by Defendant’s
                     3   conduct as alleged herein.
                     4          46.    As a direct and proximate cause of Defendant’s material breaches of
                     5   the Policies, Plaintiffs have been damaged as alleged herein in an amount to be
                     6   proven at trial, but in any event that exceeds $75,000, exclusive of interest.
                     7                                          COUNT II
                     8    (Implied Covenant of Good Faith and Fair Dealing – Contractual & Tortious
                     9                                            Breach)
                   10           47.    Plaintiffs reallege the allegations contained in paragraphs 1 through
                   11    41, inclusive, as if set forth fully herein.
                   12           48.    Plaintiffs’ policies are binding and enforceable contracts.
                   13           49.    Each of the policies includes an implied covenant that Defendant will
                   14    act in good faith and deal fairly with Plaintiffs.
                   15           50.    Defendant materially breached the policies in several
                   16    respects, including but not limited to the following:
                   17           a.     By charging excessive cost of insurance rates, thereby denying
                   18                  Plaintiffs the benefit of its actual policy account values;
                   19           b.     By increasing the cost of insurance rates on policyholders who
                   20                  exercised their contractual right to pay only enough premiums to cover
                   21                  a policy’s monthly charges and, in effect, penalizing policyholders for
                   22                  and deterring policyholders from exercising their contractual rights,
                   23                  thereby frustrating their right to one of the essential benefits of their
                   24                  policies;
                   25           c.     By targeting Plaintiffs and the Discriminated Group for the cost of
                   26                  insurance rate increase when there is no reasonable actuarial basis for
                   27                  doing so;
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                     1          d.     By attempting to force Plaintiffs and other members of the
                     2                 Discriminated Group either to (a) pay exorbitant premiums that AXA
                     3                 knows would no longer justify the ultimate death benefits or (b) lapse
                     4                 or surrender their policies, thereby forfeiting the premiums they have
                     5                 paid to date; and
                     6          e.     Failing to provide any meaningful disclosures about the cost of
                     7                 insurance rate increases, including refusing to provide or make
                     8                 available the documents that Defendant contends support its alleged
                     9                 bases for raising the cost of insurance rates.
                   10           51.    Plaintiffs have performed all of their obligations under the policies,
                   11    except to the extent that their obligations have been excused by Defendant’s
                   12    conduct as alleged herein.
                   13           52.    Defendant’s breaches were conscious and deliberate acts, which were
                   14    designed to and which did unfairly frustrate the agreed common purposes of the
                   15    Plaintiffs’ policies and which disappointed Plaintiffs’ reasonable expectations by
                   16    denying Plaintiffs the benefits of the policies.
                   17           53.    As a direct and proximate cause of Defendant’s breaches of the
                   18    implied covenant of good faith and fair dealing, Plaintiffs have been damaged as
                   19    alleged herein in an amount to be proven at trial, but in any event that exceeds
                   20    $75,000, exclusive of interest. Furthermore, AXA’s conduct was conscious and
                   21    deliberate, and constitutes oppression, fraud, or malice, justifying an award of
                   22    punitive damages.
                   23                                           COUNT III
                   24                                      (Declaratory Relief)
                   25           54.    Plaintiffs reallege the allegations contained in paragraphs 1 through
                   26    41, inclusive, as if set forth fully herein.
                   27           55.    For reasons including, but not limited to, those stated herein, there
                   28    exists an actual dispute and controversy between Plaintiffs and Defendant
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                     1   concerning Plaintiffs’ rights and Defendant’s obligations under the policies,
                     2   including but not limited to how Defendant must implement any change in the cost
                     3   of insurance rates and under what circumstances Defendant may change the cost of
                     4   insurance rates.
                     5          56.    Accordingly, Plaintiffs seek a declaration (a) that Defendant’s cost of
                     6   insurance rate increase is improper under the Policies and that any excess premiums
                     7   received must be returned or the policies’ account values recalculated according to
                     8   the original cost of insurance rates; (b) that Defendant’s purported “class” of
                     9   policies defined by issue age and face amount are improper classes; and (c) setting
                   10    forth the specific guidelines that govern the factual circumstances under which
                   11    Defendant can raise the cost of insurance rates.
                   12           57.    Such a declaration will help prevent or limit any future controversies
                   13    under the Policies by providing guidance as to when and how Defendant can
                   14    change the cost of insurance rates on its in-force AUL II Policies.
                   15                                           COUNT IV
                   16                       (For Violation of Cal. Bus. & Prof. Code § 17200)
                   17           58.    Plaintiffs reallege the allegations contained in paragraphs 1 through
                   18    41, inclusive, as if set forth fully herein.
                   19           59.    California Business & Professions Code section 17200 prohibits “any
                   20    unlawful, unfair, or fraudulent business act or practice.”
                   21           60.    Defendant has engaged in unlawful, unfair, and fraudulent business
                   22    acts and practices, as described in detail herein.
                   23           61.    As a direct and proximate cause of Defendant’s unlawful, unfair, and
                   24    fraudulent business acts and practices, Plaintiffs have lost money or property in the
                   25    form of excess premiums paid to Defendant.
                   26                                   PRAYER FOR RELIEF
                   27           WHEREFORE, Plaintiffs pray for relief and judgment as follows:
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                     1                                   On the First Count
                     2         1.     For compensatory damages in an amount to be determined at trial;
                     3         2.     For an award of pre-judgment and post-judgment interest;
                     4         3.     For the costs of the suit herein incurred, including reasonable
                     5   attorneys’ fees to the extent permitted by law; and
                     6         4.     For such other and further relief as the Court may deem proper.
                     7                                  On the Second Count
                     8         1.     For compensatory damages in an amount to be determined at trial;
                     9         2.     For punitive damages in an amount to be determined at trial;
                   10          3.     For an award of pre-judgment and post-judgment interest;
                   11          4.     For the costs of the suit herein incurred, including reasonable
                   12    attorneys’ fees to the extent permitted by law; and
                   13          5.     For such other and further relief as the Court may deem proper.
                   14                                    On the Third Count
                   15          1.     For a declaration (a) that Defendant’s cost of insurance rate increase is
                   16    improper under the Policies and that any excess premiums received must be
                   17    returned or the policies’ account values recalculated according to the original cost
                   18    of insurance rates; (b) that Defendant’s purported “class” of policies defined by
                   19    issue age and face amount are improper classes; and (c) setting forth the specific
                   20    guidelines that govern the factual circumstances under which Defendant can raise
                   21    the cost of insurance rates;
                   22          2.     For the costs of the suit herein incurred, including reasonable
                   23    attorneys’ fees to the extent permitted by law; and
                   24          3.     For such other and further relief as the Court may deem proper.
                   25                                   On the Fourth Count
                   26          1.     For an order requiring Defendant to return all excess premiums paid on
                   27    Plaintiffs’ policies and prohibiting Defendant from implementing the cost of
                   28    insurance rate increase;
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                     1         2.     For the costs of the suit herein incurred, including reasonable
                     2   attorneys’ fees to the extent permitted by law; and
                     3         3.     For such other and further relief as the Court may deem proper.
                     4
                         Dated: February 7, 2017             Respectfully submitted,
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                                                             ARENT FOX LLP
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                                                             By:     /s/ Franjo M. Dolenac
                     8                                              Michael Cryan
                                                                    Franjo M. Dolenac
                     9
                                                              Attorneys for Plaintiffs
                   10                                         THE DUFFY 2004 LLC
                                                              and THE TULL 2006 LLC
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                     1                               DEMAND FOR JURY TRIAL
                     2         Plaintiffs hereby demand trial by jury pursuant to Rule 38(b) of the Federal
                     3   Rules of Civil Procedure.
                     4
                         Dated: February 7, 2017            Respectfully submitted,
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                                                            ARENT FOX LLP
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                     7
                                                            By:     /s/ Franjo M. Dolenac
                     8                                             Michael Cryan
                                                                   Franjo M. Dolenac
                     9
                                                             Attorneys for Plaintiffs
                   10                                        THE DUFFY 2004 LLC
                                                             and THE TULL 2006 LLC
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